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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA


   UNITED STATES OF AMERICA                 )
                                            )
           vs.                              )     Magistrate Cause No.: 2:05 MJ 189
                                            )     Criminal Cause No.: 2:05CR143
   RUDOLFO HEREDIA



                                 ORDER FOR DISMISSAL

                 Pursuant to Rule 48(a) of the Federal Rules of Criminal

                 Procedure and by leave of court endorsed hereon, the United

                 States Attorney for the Northern District of Indiana hereby

                 dismisses the    COMPLAINT                                       against

                      Rudolfo Heredia                  , defendant.


                                                Joseph S. Van Bokkelen
                                                United States Attorney



                                                S/ Philip C. Benson
                                                Philip C. Benson
                                                Assistant United States Attorney


           Leave of Court is granted for the filing of the foregoing dismissal.


           Date: September 26, 2005


                                                s/ Paul R. Cherry
                                                PAUL R. CHERRY
                                                United States Magistrate Judge
                                                Northern District of Indiana
                                                Hammond Division
